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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                           NORTHERN DIVISION

          CHARLES SLAUGHTER
                                                                 PLAINTIFF

          V.            CIVIL ACTION NO. 3:20-CV-789-CWR-FKB

          DR. DANIEL P. EDNEY, IN
          HIS OFFICIAL CAPACITY AS
          THE MISSISSIPPI STATE
          HEALTH OFFICER, ET AL.
                                                               DEFENDANTS


               30(b)(6) DEPOSITION OF MISSISSIPPI STATE
                          DEPARTMENT OF HEALTH
                         {DR. LUCIOUS LAMPTON}

              Taken at the instance of the Plaintiff at
           Mississippi Attorney General's Office, 550 High
            Street, Jackson, Mississippi 39205, on Friday,
                          December 20, 2023,
                        beginning at 9:09 a.m.




                                   REPORTED BY:
                       ROBIN G. BURWELL, CCR #1651



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     1    a task force that would study the issue.                  But if
     2    the data is there and the facts are there, that's
     3    in the best interest of the citizens, and that's
     4    what we should be doing.            And I think that would
     5    be -- we take it to the legislature.                  Now, would
     6    the legislature respond?            Perhaps not, but perhaps
     7    so.   But I think they would also have our research
     8    and the data to back that up.
     9          Q.    (By Mr. Davis)          As we sit here today,
    10    has anyone reported to you in the home health
    11    agency, you know, arena, you know, specifically,
    12    that they've had third parties come make
    13    presentations that have led the staff to have a
    14    concern that they think they need to report to
    15    your committee that they perceive an unmet need?
    16          A.    This case is the first time I've heard
    17    of any discussion of unmet needs or unprovided
    18    services in the health care industry in
    19    Mississippi.       Since 2006 I haven't heard anything.
    20          Q.    When you say "this case," you mean the
    21    fact that Mr. Slaughter has filed a lawsuit?
    22          A.    Correct.
    23          Q.    Okay.      I mean, Mr. Slaughter, did he
    24    ever come to your staff and make a presentation
    25    showing them evidence that there is this -- that



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     1    they can meet this 50-person need in a particular
     2    county?
     3          A.    Not that I'm aware of.
     4          Q.    Okay.      That's all I have.
     5    EXAMINATION BY MR. SCHELVER:
     6          Q.    I just have maybe a couple of questions.
     7                Dr. Lampton, you and Mr. Rice talked a
     8    great deal and went through a number of State
     9    Health Plans and home health reports, and there
    10    was some discussion about potential discrepancies
    11    in numbers.        Do you recall all that?
    12          A.    Yes.
    13          Q.    Is there any reason that a CON applicant
    14    would be limited to the data contained in those
    15    State Health Plans when they make an application?
    16          A.    No.      I mean, they could go and let staff
    17    know they have other data.          We'll take data from
    18    anywhere that would disprove our data.               That's
    19    part of the process.        I mean, we're trying to find
    20    the best data.
    21          Q.    Have you ever experienced an applicant
    22    that challenges the data which is contained within
    23    the State Health Plan or within a Department
    24    report?
    25          A.    Oh, yeah, that's common.            We've had



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     1    of Health need to say we think that it does help
     2    with health planning and with health strategy, how
     3    can we make it more effective and less burdensome
     4    to the system.
     5          Q.     You talked earlier about the three
     6    full-time staff and three part-time staff that
     7    work at the CON division.           And I was just going to
     8    ask you if you could maybe expound a little bit on
     9    the function of the moratorium with regard to the
    10    CON staff and how that moratorium actually assists
    11    the CON staff if you believe it does.
    12          A.     Well, anyone who works at our Department
    13    of Health realizes that we have significant
    14    problems with staffing.         We don't have enough
    15    staff.     The staff are often not extraordinarily
    16    trained.     Basic competency is sometimes something
    17    we are very concerned about.           Our most competent
    18    employees either move up or they're hired by
    19    somebody else.       The Board has had extensive
    20    conversations with the personnel board and with
    21    the legislature about the need to pay our
    22    employees that do critical work more money and
    23    also to get them help.
    24                 I think when we look at some of the
    25    typos in some of the papers that we were looking



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     1    at, I think we're looking at a very overly worked
     2    staff that has a lot of -- we have three -- three
     3    full-time employees to do everything from hearings
     4    to evaluation to -- now they have a committee and
     5    they have other staff that do help, but largely,
     6    they're doing it all.        So three full-time
     7    employees that are assisted by an administrative
     8    assistant and two part-time people.
     9                The concern about -- you know, the
    10    reason to raise the moratorium or get rid of the
    11    moratorium would be that there would be a need for
    12    more home health.        If there's not a need, then it
    13    would just be more work for my staff.                From a
    14    purely selfish standpoint as a Department, I don't
    15    need to give my CON staff any work that's not
    16    essential for the public good, and it's not going
    17    to be acted on and gone forward with.
    18                So we have a very lean staff, and I
    19    think -- and that's not going to change.                So any
    20    unnecessary work I would not want for my
    21    Department.        However, if there's a need there, we
    22    need to -- it would be something worthwhile for
    23    the Department.
    24          Q.    And if there was a need, if someone
    25    could show a need, demonstrate a need to the



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     1    Board, you've testified that there is a process
     2    for that person to demonstrate that to the Board
     3    and then the Board can make a recommendation to
     4    the legislature to remove the moratorium, correct?
     5          A.    Correct.
     6                MR. SCHELVER:       No further questions.
     7    FURTHER EXAMINAION BY MR. RICE:
     8          Q.    Dr. Lampton, you testified about the
     9    circumstance in which someone, you know, if they
    10    theoretically came into the Board and presented
    11    data that was different than what the State Health
    12    Plan requires and said that the Board would
    13    consider that or make changes for that if needed?
    14          A.    Yes.
    15          Q.    Do you remember that?
    16          A.    Yes.     And I think we would.           And I do
    17    think we probably would need to spend some time
    18    being sure of the need criteria is updated, even
    19    though there is a moratorium in place in case it's
    20    ever lifted.
    21          Q.    And we talked earlier today about the
    22    fact that the Board has the authority to change
    23    the standards and criteria in the State Health
    24    Plan, right?
    25          A.    Yes, there's a lot that can be done



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     1    come to a Board of Health meeting.              Once they have
     2    the hearing, before we vote on something, we allow
     3    public comment to the Board.           That was somewhat
     4    hampered by COVID, but public comment is allowed
     5    to address the issues that we're going to vote on.
     6            Q.     Let me just ask one last question and
     7    make sure I'm clear.        You said earlier that other
     8    than this -- well, you said earlier that in your
     9    40 years you've never heard from anyone that there
    10    is a need from additional home health agencies in
    11    Mississippi; is that correct?
    12            A.     I do have gray hair, but it's only been
    13    30 years.
    14            Q.     30 years.   Thank you very much for your
    15    time.
    16            A.     It feels like more at times.          But in my
    17    30 years, I've never heard anyone say we need more
    18    home health agencies.
    19                   MR. SCHELVER:      No further questions.
    20    Thank you for your time today.
    21                       (Time Noted:     4:00 p.m.)
    22                         SIGNATURE/NOT WAIVED
    23    ORIGINAL:        MR. RICE, ESQ.
    24    COPY:        MR. SCHELVER, ESQ.
    25    COPY:        MR. DAVIS, ESQ.



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